                        UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF OREGON
In re                         )
                              )             Case No.: 20-32571-dwh11
U.S. OUTDOOR HOLDING LLC      )
                              )             CHAPTER 11 TRUSTEE’S
                              )             PERIODIC CASE STATUS REPORT
                              )
                              )
                    Debtor(s) )

         The debtor’s Plan of Reorganization was confirmed as a non consensual Plan on
January 27, 2021. Pursuant to the Confirmation Order, the Case Trustee is responsible for
making payments to allowed claims according to the schedule attached hereto as Exhibit A.
Funding for those payments was to come from monies sent to the Case Trustee by the debtor.
Since the bankruptcy estate, and the case, remain open in a non consensual Plan for the life of
the confirmed Plan, local rules require the Case Trustee to file a status report every six
months until the Plan has been completed, at which time LBF 1195 would be filed. The Case
Trustee’s last status report was filed on November 16, 2021 (Dkt. 154). The next status report
is due six months from this filing.


CURRENT ACTIVITIES
         The Plan Payment due January 31, 2022 in the sum of $423,584 was not made. In
lieu thereof, the debtor paid $100,000 to the Case Trustee and thereafter filed a Motion to
Approve a Plan Amendment. Just prior to filing the amended plan, Garrett Ledgerwood, on
behalf of creditors Robert Solomon and Solomon Management Inc., filed a motion to convert
the case to Chapter 7. Following negotiations between the debtor and Mr. Ledgerwood, the




Page 1 of 2    CHAPTER 11 TRUSTEE’S CASE STATUS REPORT
                Case 20-32571-dwh11 Doc 188 Filed 05/16/22
debtor filed a second amended Plan of Reorganization on April 15, 2022. The time for filing
objections to the Amended Plan has run and no objections have been filed. An Order
confirming that Plan is expected to be entered this week.
         The debtor’s Amended Plan of Reorganization calls for the company to be sold by
September 30, 2022. The business will continue to operate until it is sold. If the debtor fails
to complete a sale by September 30th, or otherwise falls to comply with the terms of the
Amended Plan, then, following Notice of Default, the debtor’s case will be converted to
Chapter 7. The sale proceeds will be disbursed by the Case Trustee as set forth in the attached
Amended Payment Schedule (Exhibit B), provided however that the administrative
payments to the Case Trustee and Debtor’s Counsel are estimated and subject to bankruptcy
court approval.
         Separately, the Case Trustee has been authorized to investigate and pursue avoidable
transfers. To that end, he is retaining Timothy Solomon and the Leonard Law Group to assist
him in this endeavor. The statute of limitations to pursue these claims runs on September 4,
2022. Any funds recovered, will be used to make additional payments to Creditors.


                                            Respectfully submitted,


                                            /s/ Kenneth S. Eiler
                                            Chapter 11 Trustee

c: by ecf only




Page 2 of 2      CHAPTER 11 TRUSTEE’S CASE STATUS REPORT
                  Case 20-32571-dwh11 Doc 188 Filed 05/16/22
             EXHIBIT A
  (Original Plan Payment Schedule)




Case 20-32571-dwh11   Doc 188   Filed 05/16/22
                                                                  PLAN PAYMENT SCHEDULE

                                                                   CLAIM
                                                                  AMOUNT
                                                                              INTEREST   Initial Plan         Due       Due       Due
      CLASS                       CREDITOR NAME                                 RATE      Payments          1/31/22   1/31/23   1/31/24
      Class 1
                        US Small Business Admin -- ****             150,154    3.75%            5,117         8,772     8,772     8,772
      Class 2
                        Tecnica Group USA Corp                       50,298    4.25%            4,500        49,973         0         0
      Class 3
                        The Burton Corporation                       64,302    4.25%            8,200        61,335
      Class 4
                        National Funding Inc                         74,567    4.25%            9,500        71,136
      Class 5
                        IRS                                          92,734    3.00%            6,000        92,202
      Class 6
                        Multnomah County                              1,610    16.00%           1,610       0               0         0
      Class 7           Solomon Trust (included in Class 9)         193,129     0.00%               0       0               0         0
      Class 8           Solomon Mnmt (included in Class 9)        1,269,785     0.00%               0       0               0         0
                                                      Subtotal:                                34,927 283,418           8,772     8,772

      Priority          IRS                                          59,642    3.00%            6,000        57,094         0         0
      Priority          ODR                                          24,260    6.00%            3,000        24,079
      Priority          DCBS                                          1,127    6.00%            1,127             0         0         0
      Priority          Employment Dept                              18,169    6.00%            2,500        17,765
                                                      Subtotal:                                12,627        98,938         0         0

      Class 9           General Unsecured Creditors               3,600,085     0%                      0    50,000 323,795 323,795
                                                      Subtotal:                                         0    50,000 323,795 323,795

                        ****PAID DIRECTLY BY THE DEBTOR




Exhibit 1 Page 1 of 1
                                           Case 20-32571-dwh11         Doc 188       Filed 05/16/22
           EXHIBIT B
  (Amended Plan Payment Schedule)




Case 20-32571-dwh11   Doc 188   Filed 05/16/22
US Outdoor Holding, LLC - Case No. 20-32571-dwh11


                        Beginning Cash                                             *      400,000
                                                                                                      *
                                                                                                     160,000     151,228      51,744
                        Net Profit                                                                                  -282      21,668
                        Sale Proceeds                                                                                       925,000


                                                            CLAIM
                                                           AMOUNT
                                                                        INTEREST       Initial Plan
            CLASS              CREDITOR NAME                              RATE          Payments Due 1/31/22 Due 4/30/22 Due 9/30/22
            Admin       Vanden Bos & Chapman                 127,256       0%                56,256        0       5,000     66,000
            Admin       CFO Selections, LLC                    5,321       0%                  6,000       0           0           0
            Admin       Willamette Valley Accounting               0       0%                  4,000       0           0           0
            Admin       Solomon Trust                         75,000       0%                75,000        0           0           0
            Admin       Subchapter V Trustee                  25,215       0%                10,215        0       2,000     13,000
                                               Subtotal:                                    151,471        0       7,000     79,000

            Class 1     US Small Business Admin               150,154     3.75%             5,117       8,772          0    158,652
            Class 2     Tecnica Group USA Corp                 50,298     4.25%             4,500           0          0     48,738
            Class 3     The Burton Corporation                 64,302     4.25%             8,200           0          0     59,703
            Class 4     National Funding Inc                   74,567    4.25%              9,500           0          0     69,244
            Class 5     IRS                                    92,734     3.00%             6,000           0     92,202          0
            Class 6     Multnomah County                        1,610    16.00%             1,610           0          0          0
            Class 7     Solomon Trust (see Class 9)           193,129     0.00%                 0           0          0          0
            Class 8     Solomon Management (see Class       1,269,785     0.00%                 0           0          0          0
                                               Subtotal:                                   34,927       8,772     92,202    336,337

            Priority    IRS                                   59,642     3.00%              6,000          0           0      56,068
            Priority    ODR                                   24,260     6.00%              3,000          0           0      23,192
            Priority    DCBS                                   1,127     6.00%              1,127          0           0           0
            Priority    Employment Dept                       18,169     6.00%              2,500          0           0      17,093
                                               Subtotal:                                   12,627          0           0      96,353

            Class 9     General Unsecured Creditors         3,600,085     0%                    0          0           0    461,598
                                             Subtotal:                                          0          0           0    461,598

                        Total Plan Payments:                                              199,025      8,772      99,202    973,288
                        Net Cash Carry:                                                   200,975    151,228      51,744     25,124


                        *Includes$100,000paidtotheTrusteeonorabout1/31/2022




     EXHIBIT 2 - Page 25 of 40
      EXHIBIT 1 - Page 1 of 1
      EXHIBIT A - Page 23 ofCase
                              38 20-32571-dwh11                         Doc 188
                                                                            179          Filed 05/16/22
                                                                                               04/15/22
